       Case 1:08-cr-00067-LJO Document 183 Filed 11/03/10 Page 1 of 2


 1   Robert D. Wilkinson, Esq.; 100478
     BAKER MANOCK & JENSEN, PC
 2   5260 North Palm Avenue, Suite 421
     Fresno, California 93704
 3   Telephone: 559.432.5400
     Facsimile: 559.432.5620
 4

 5   Attorneys for   Defendant, GILBERT A. GARCIA
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     )       Case No.: 1:08-CR-00067-L
                                                   )
12                   Plaintiff,                    )       STIPULATION TO CONTINUE
                                                   )       SENTENCING ON VIOLATION OF
13           vs.                                   )       SUPERVISED RELEASE AND ORDER
                                                   )
14   GILBERT A. GARCIA,                            )       DATE: November 9, 2010
                                                   )       TIME: 8:30 a.m.
15                   Defendant.                    )       COURTROOM: 4
                                                   )       JUDGE: Hon. Lawrence J. O’Neill
16                                                 )
                                                   )
17                                                 )
18

19                   Plaintiff, UNITED STATES OF AMERICA, and Defendant, GILBERT A.

20   GARCIA, through authorized counsel, hereby agree to continue the sentencing hearing on the

21   pending petition for violation of supervised release from Friday, November 5, 2010 at 9:00 a.m.

22   to Tuesday, November 9, 2010 at 8:30 a.m., or as soon thereafter as the matter may be heard.

23
     DATED: November 2, 2010                                BENJAMIN B. WAGNER
24                                                          United States Attorney
25
                                                            By:    /s/ Karen Escobar
26                                                          Karen Escobar
                                                            Assistant U. S. Attorney
27

28
                                                       1
        STIPULATION TO CONTINUE SENTENCING ON VIOLATION OF SUPERVISED RELEASE AND
                                    [PROPOSED] ORDER
       Case 1:08-cr-00067-LJO Document 183 Filed 11/03/10 Page 2 of 2


 1

 2   DATED: November 3, 2010

 3                                                         BAKER MANOCK & JENSEN, PC
 4

 5                                                         By_ / s / Robert D. Wilkinson
                                                           Robert D. Wilkinson
 6                                                         Attorneys for Defendant, GILERT A.
                                                           GARCIA
 7

 8

 9                                                ORDER
10           Having reviewed the stipulation of the parties, it is hereby ordered that the sentencing

11   hearing now set for Friday, November 5, 2010 at 9:00 a.m. is continued until Tuesday,

12   November 9, 2010 at 8:30 a.m., or as soon thereafter as the matter may be heard.

13           IT IS SO ORDERED.

14   DATED: November 3, 2010                               /s/ Lawrence J. O’Neill

15                                                         Hon. Lawrence J. O’Neill
                                                           U. S. District Judge
16

17   DMS: 846861_1.DOC

18

19

20

21

22

23

24

25

26

27

28
                                                      2
        STIPULATION TO CONTINUE SENTENCING ON VIOLATION OF SUPERVISED RELEASE AND
                                    [PROPOSED] ORDER
